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                         IN UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

KEITH VICKERS,                                  §
                                                §
        Plaintiff,                              §
                                                §
v.                                              §      Civil Action No. 3:11-CV-0492-O
                                                §
UNITED BILT HOMES, LLC,                         §
                                                §
        Defendant.                              §

                                           FINAL JUDGMENT

        The court has granted Defendant’s Motion for Summary Judgment, dismissing all of

Plaintiff’s claims. All issues having been resolved, Plaintiff’s Petition is dismissed with prejudice.

        Singed this 3rd day of January, 2012.




                                       _____________________________________
                                       Reed O’Connor
                                       UNITED STATES DISTRICT JUDGE
